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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                           :    CRIMINAL NO. 22-cr-15 (APM)
                                                    :
                        v.                          :
                                                    :
 ELMER STEWART RHODES III,                          :
                                                    :
 KELLY MEGGS,                                       :
                                                    :
 KENNETH HARRELSON,                                 :
                                                    :
 JESSICA WATKINS, and                               :
                                                    :
 THOMAS CALDWELL,                                   :
                                                    :
                     Defendants.                    :

                         JOINT PROPOSED JURY INSTRUCTIONS

       Pursuant to the Court’s Consolidated Pretrial Order (ECF No. 133), the parties hereby

jointly propose the following final jury instructions, subject to issues that arise during trial:

       1. Furnishing the Jury with a Copy of the Instructions, Redbook 2.100

       2. Function of the Court, Redbook 2.101

       3. Function of the Jury, Redbook 2.102

       4. Jury’s Recollection Controls, Redbook 2.103

       5. Evidence in the Case, Redbook 2.104

       6. Statements of Counsel, Redbook 2.105

       7. Burden of Proof—Presumption of Innocence, Redbook 2.107

       8. Reasonable Doubt, Redbook 2.108

       9. Direct and Circumstantial Evidence, Redbook 2.109

       10. Nature of Charges Not To Be Considered, Redbook 2.110

       11. Number of Witnesses, Redbook 2.111


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12. Inadmissible and Stricken Evidence, Redbook 2.112

13. Credibility of Witnesses, Redbook 2.200

14. Accomplice’s Testimony, Redbook 2.202

15. Witness With a Plea Agreement, Redbook 2.203

16. INTENTIONALLY BLANK

17. Police Officer’s Testimony, Redbook 2.207

18. Right of Defendant Not to Testify, Redbook 2.208

19. Defendant As Witness, Redbook 2.209 (if applicable)

20. False or Inconsistent Statement by Defendant, Redbook 2.210 (if applicable)

21. Character of Defendant, Redbook 2.213 (if applicable)

22. Specialized Opinion Testimony, Redbook 2.215

23. INTENTIONALLY BLANK

24. Evaluation of Prior Inconsistent Statement of a Witness, Redbook 2.216 (if applicable)

25. Evaluation of Prior Consistent Statement of a Witness, Redbook 2.217 (if applicable)

26. Impeachment by Proof of Conviction of a Crime, Redbook 2.218 (if applicable)

27. Evidence Admitted Against One Defendant Only, Redbook 2.308

28. Transcripts of Tape Recordings, Redbook 2.310

29. Other Acts Evidence

30. Instruction Regarding Speech

31. Instruction Regarding Firearms

32. Multiple Defendants—Multiple Counts, Redbook 2.404

33. Organization and Persons Not Present

34. Unanimity—General, Redbook 2.405




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35. Verdict Form Explanation, Redbook 2.407

36. Proof of State of Mind, Redbook 3.101

37. Proof of “On or About,” Redbook 3.103

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       b. Definitions

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       a. Introduction

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53. Attitude and Conduct of Jurors in Deliberations, Redbook 2.510

54. Excusing Alternate Jurors, Redbook 2.511




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                                    [29] Other Acts Evidence

       You have heard evidence about other alleged acts of the defendants with which they are

not charged in the indictment. Specifically, the government presented evidence:

       (1) That [summary of evidence].          This evidence was offered to prove [motive,

           opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack

           of accident]

       (2) [same]

       You must decide whether this evidence is true. If you decide it is not true, ignore it. If

you decide it is true, you may only use it for the purposes I have mentioned. You may not use the

evidence to infer that the defendants had a predisposition to engage in criminal conduct, or that it

is more likely that, because the defendants may have engaged in other acts, that they committed

the offenses charged in the indictment in this case. The law does not allow you to convict a

defendant simply because you believe the defendant may have done bad things not specifically

charged as crimes in this case.

                          [30] Proposed Instruction Regarding Speech

       You heard evidence about statements made to and by some defendants and other

individuals. The First Amendment of the United States Constitution protects an individual’s right

to free speech, including speech that you may find to be vile, hateful, or offensive. The First

Amendment does not, however, provide a right to engage in speech that is integral to criminal

conduct. You may not find that a defendant committed a crime, or that a conspiracy existed,

simply because you find that a defendant, or other individuals, engaged in speech you find to be

offensive. You may, however, consider the statements made by defendants and other individuals




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as evidence that, for example, a conspiracy existed, a defendant entered into a conspiracy, or a

defendant had a certain motive, intent, or knowledge.

                       [31] Proposed Instruction Regarding Firearms

       You heard evidence that some defendants and other individuals possessed firearms. The

Second Amendment of the United States Constitution protects an individual’s right to possess

firearms in certain circumstances, and there is nothing inherently unlawful about doing so. The

Second Amendment does not, however, provide a right to possess or use firearms to commit a

crime, including to further a conspiracy. You may not infer that a defendant had a predisposition

to engage in criminal conduct simply because a person lawfully possessed firearms. You may,

however, consider this evidence as circumstantial proof that a defendant planned to do something

unlawful.

            [33] Proposed Instruction for Organization and Persons Not Present

       The Oath Keepers organization is not a defendant in this case, and the defendants are not

on trial for having knowledge of, or being associated with, the Oath Keepers organization.

       In our system of justice, guilt or innocence is personal and individual and you should not

make any inferences or speculate about other individuals you have heard about in this trial or

whether they have been charged with crimes. I have decided which defendants will stand trial

together and at which time. The only issue for you to decide is whether the government has

proved each of these defendants guilty beyond a reasonable doubt.

                                  [36] Proof of State of Mind

       Someone’s intent or knowledge ordinarily cannot be proved directly, because there is no

way of knowing what a person is actually thinking, but you may infer someone’s intent or

knowledge from the surrounding circumstances. You may consider any statement made or acts



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done by the defendant, and all other facts and circumstances received in evidence which indicate

his or her intent or knowledge.

       You may infer, but are not required to infer, that a person intends the natural and probable

consequences of acts he or she intentionally did or intentionally did not do. It is entirely up to

you, however, to decide what facts to find from the evidence received during this trial. You

should consider all the circumstances in evidence that you think are relevant in determining

whether the government has proved beyond a reasonable doubt that the defendant acted with the

necessary state of mind.

       While a defendant must act with the intent as I describe below for each charged crime, this

need not be the defendant’s sole purpose. A defendant’s unlawful intent is not negated by the

simultaneous presence of another purpose for the defendant’s conduct.

                                  [38] Summary of Indictment

       With these preliminary instructions in mind, let us turn to the charges against the

defendants, as contained in the indictment. The indictment itself is not evidence. It merely

describes the charges made against each defendant and is the means by which each defendant was

formally notified of the charges against him or her. The indictment is merely an accusation. It

may not be considered by you as evidence of the guilt of any defendant, and you must not draw

any inference of guilt from it.

       The indictment in this case contains conspiracy charges and other charges. The indictment

alleges that the defendants agreed to oppose by force the lawful transfer of presidential power

following the 2020 U.S. Presidential Election, and, in so doing, that the defendants violated three

separate conspiracy laws. The first conspiracy charge is Count One, seditious conspiracy, which

charges that the defendants entered an agreement to try to stop the lawful transfer of power by




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opposing by force the authority of the Government of the United States, or to use force to prevent,

hinder, and delay the execution of any law of the United States. The second conspiracy charge is

Count Two, conspiracy to obstruct an official proceeding, which charges that the defendants

entered an agreement to obstruct an official proceeding, that is, Congress’s session on January 6,

2021, to certify the Electoral College votes. And the third conspiracy charge is Count Four,

conspiracy to prevent members of Congress from discharging their duties.

       With regard to the other charges: Count Three of the indictment charges all five defendants

with obstruction of an official proceeding, meaning Congress’s session on January 6 to certify the

Electoral College votes. Count Five charges defendants Kelly Meggs, Kenneth Harrelson, and

Jessica Watkins with destruction of government property, for the alleged damage to property at

the U.S. Capitol on January 6. Count Six charges Jessica Watkins with committing an act to

obstruct, impede, or interfere with law enforcement officers lawfully carrying out their official

duties incident to a civil disorder, for allegedly interfering with police officers inside the Capitol

on January 6. Finally, Counts Seven, Eight, Nine, and Ten charge defendants Stewart Rhodes,

Kelly Meggs, Kenneth Harrelson, and Thomas Caldwell with obstruction of justice for tampering

with documents or proceedings. These charges are based on the allegation that these defendants,

after January 6, deleted certain content from their cell phones or social media accounts —or, in the

case of Stewart Rhodes, encouraged or instructed other people to delete the content—to prevent

the grand jury from obtaining that content.

                           [39] Proposed Instruction for Conspiracy

       The law of conspiracy that I am about to explain to you applies to Count One, charging the

defendants with seditious conspiracy; Count Two, charging the defendants with conspiracy to

obstruct an official proceeding; and Count Four, charging the defendants with conspiracy to




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prevent Members of Congress from discharging their duties. I will instruct you as to each of those

offenses, but first I will instruct you as to certain principles about conspiracies that apply to all

three of these offenses.

       Definition of conspiracy

       A conspiracy is an agreement by two or more persons to join together to accomplish some

unlawful purpose.

       To sustain its burden of proof with respect to each of the offenses charged in Counts One,

Two, and Four—seditious conspiracy, conspiracy to obstruct an official proceeding, and

conspiracy to prevent Members of Congress from discharging their duties—the government must

prove beyond a reasonable doubt the following two elements:

       First, the existence of the charged conspiracy—that is, the existence of an agreement or

understanding to commit the unlawful object of such conspiracy; and

       Second, that the defendant knowingly became a member of the conspiracy, with intent to

achieve the illegal object of the charged conspiracy.

       Now I will separately discuss each of these elements.

       Existence of a conspiracy

       Government proposal:

       To show that a conspiracy existed, the evidence must show beyond a reasonable doubt that

two or more persons in some way or manner, either explicitly or implicitly, came to an

understanding to accomplish an unlawful plan.

       In determining whether there has been an unlawful agreement as alleged in the indictment,

you may consider the actions of all the alleged co-conspirators that were taken to carry out the

apparent criminal purpose. The only evidence that may be available with respect to the existence




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of a conspiracy is that of disconnected acts on the part of the alleged individual co-conspirators.

When taken all together and considered as a whole, however, you may conclude—or may not, as

your good judgment dictates—that this evidence warrants the inference that a conspiracy existed

just as conclusively as more direct proof, such as evidence of an express agreement.

       To prove the existence of a conspiracy, the government is not required to show that two or

more people sat around a table and entered into a solemn pact, orally or in writing, stating that they

had formed a conspiracy to violate the law and spelling out all the details. Common sense tells

you that when people agree to enter into a criminal conspiracy, much is left to unexpressed

understanding. It is rare that a conspiracy can be proven by direct evidence of an explicit

agreement.

       Defense proposal:

       The first element of the crime of conspiracy is the existence of an agreement. The

government must prove beyond a reasonable doubt that two or more persons knowingly and

intentionally arrived at a mutual understanding or agreement, either spoken or unspoken, to work

together to achieve the overall objective of the conspiracy [to commit the charged offense]. The

government does not have to prove the existence of a formal or written agreement, or an express

oral agreement spelling out the details of the understanding. The government also does not have

to prove that all members of the conspiracy directly met, or discussed between themselves their

unlawful objective[s], or agreed to all the details, or agreed to what the means were by which the

objective[s] would be accomplished. What the government must prove beyond a reasonable

doubt is that two or more persons in some way or manner arrived at some type of agreement,

mutual understanding, or meeting of the minds to try to accomplish a common and unlawful

objective.




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        You may consider both direct evidence and circumstantial evidence in deciding whether

the government has proved beyond a reasonable doubt that an agreement or mutual understanding

existed. You may find the existence of a conspiracy based on reasonable inferences drawn from

the actions and statements of the alleged members of the conspiracy, from the circumstances

surrounding the scheme, and from evidence of related facts and circumstances which prove that

the activities of the participants in a criminal venture could not have been carried out except as the

result of a preconceived agreement, scheme, or understanding.

        Success is irrelevant

        It does not matter whether the persons who formed the agreement actually carried out their

plans or whether the agreement ultimately was successful.

        Of course, proof concerning the accomplishment of the object of a conspiracy may be the

most persuasive evidence of the existence of the conspiracy itself. In other words, success in

carrying out an act, if you believe it was carried out, is often the best proof of the agreement—but

as I just said, it is not necessary that a conspiracy actually succeed in its purpose for you to conclude

that it existed.

        “Knowing,” “intentionally,” and “unlawfully”

        If you conclude that the government has proven beyond a reasonable doubt that the

conspiracy you are considering existed, and that the conspiracy had as its object one of the illegal

purposes charged in the indictment, then you must next determine whether the defendant

intentionally participated in that conspiracy with knowledge of its unlawful purposes, and with the

intent to further its unlawful objectives.

        The government must prove beyond a reasonable doubt that the defendant knowingly and

intentionally entered into the conspiracy with criminal intent—that is, with a purpose to violate




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the law—and that he agreed to take part in the conspiracy to promote and cooperate in its unlawful

objectives.

        “Unlawfully” simply means contrary to law. A defendant does not need to have known

that he was breaking any particular law, but he must have been aware of the generally unlawful

nature of his acts.

        The terms “knowingly” and “intentionally” mean that to find that a defendant joined the

conspiracy, you must conclude beyond a reasonable doubt that in doing so, he knew what he was

doing; in other words, that the defendant took the actions in question deliberately and voluntarily.

An act is done “knowingly” and “intentionally” if it is done deliberately and purposely; that is, the

defendant’s acts must have been the product of the defendant’s conscious objective, rather than

the product of a mistake or accident, or mere negligence, or some other innocent reason.

        You have heard evidence of certain acts and conversations that are alleged to have taken

place with a defendant or while a defendant was listening to, watching, or reading the

conversations or observing the acts. You may, but are not required to, consider this evidence in

determining whether these acts and conversations show beyond a reasonable doubt a defendant’s

knowledge of the unlawful purposes of the conspiracy. You may consider this evidence along

with other evidence in the case and give it as much weight as you think it deserves.

        It is not necessary for the government to show that the defendant was fully informed as to

all the details of the conspiracy for you to infer knowledge on his part. To have guilty knowledge,

the defendant need not know the full extent of the conspiracy or all of the activities of all of its

participants. It is not necessary for the defendant to know every other member of the conspiracy.

In fact, the defendant may know only one other member of the conspiracy and still be a co-




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conspirator. It is enough if he participated as a conspirator unlawfully, intentionally, and

knowingly as I have defined those terms.

       Duration and extent of the defendant’s joining of the agreement

       The duration and extent of the defendant’s joining of the agreement has no bearing on the

issue of the defendant’s guilt. He need not have joined the conspiracy at the outset. With regard

to liability for conspiracy (although not substantive offenses), the defendant may have joined the

conspiracy at any time in its progress, and will still be held responsible for all that was done before

he joined, if those acts were reasonably foreseeable and within the scope of the defendant’s

agreement, and for all that was done during the conspiracy’s existence while he was a member.

Each member of a conspiracy may perform separate and distinct acts, or no acts at all. Some

conspirators may play major roles, while others play only minor roles in the scheme. An equal

role is not what the law requires, and a defendant does not need perform any specific act beyond

joining the conspiratorial agreement.

       I want to caution you, however, that a person’s mere association with a member of a

conspiracy does not make that person a member of the conspiracy, even when that association is

coupled with knowledge that a conspiracy is taking place. For example, mere presence at the scene

of a crime, even coupled with knowledge that a crime is taking place, is not sufficient to support a

conviction for conspiracy. In other words, knowledge without agreement is not sufficient. What

is necessary is that the defendant has joined the conspiracy with knowledge of its unlawful

purposes and with an intent to aid in the accomplishment of its unlawful objectives. A person may

know, or be friendly with, a conspirator without being a conspirator himself. Mere similarity of

conduct or the fact that persons may have assembled together and discussed common aims and

interests does not necessarily establish membership in a conspiracy.




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       I also want to caution you that mere knowledge of or acquiescence to the unlawful plan—

without agreement in it—is not sufficient. Moreover, the fact that the acts of the defendant without

knowledge merely happened to further the purposes or objectives of the conspiracy, does not make

the defendant a member. More is required under the law. The defendant must have joined the

agreement with knowledge of at least some of the purposes or objectives of the conspiracy and

with the intention of aiding in the accomplishment of those unlawful ends.

       In sum, you must find beyond a reasonable doubt that the defendant, with an understanding

of the unlawful nature of the conspiracy, intentionally engaged, advised or assisted in the

conspiracy for the purpose of furthering an illegal undertaking. The defendant thereby becomes a

knowing and willing participant in the unlawful agreement—that is to say, a conspirator.

       Termination of a conspiracy

       A conspiracy, once formed, is presumed to continue until either its objective is

accomplished or there is some affirmative act of termination by its members. Similarly, once a

person is found to be a member of a conspiracy, he is presumed to continue his membership in the

venture until its termination.

       It is not essential that the government prove that a particular conspiracy alleged in the

indictment started or ended on any of the specific dates described for that conspiracy. It is

sufficient if you find that the conspiracy was formed and that it existed within the time set forth in

the indictment.




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                      [40] Proposed Instruction for Seditious Conspiracy

       Count One of the indictment charges that the defendants participated in a conspiracy to do

at least one of two things: (1) to oppose by force the authority of the Government of the United

States, or (2) to prevent, hinder, or delay the execution of any law of the United States by force.

                                             Elements

       In order to find a defendant guilty of conspiring to oppose by force the authority of the

Government of the United States, or to prevent, hinder, or delay the execution of any law of the

United States by force, you must find that the government proved each of the following two

elements beyond a reasonable doubt:

       First, that the defendant conspired or agreed with at least one other person with the goal of

opposing by force the authority of the Government of the United States, or preventing, hindering,

or delaying the execution of any law of the United States by force.

       Second, that the defendant joined or entered into that agreement with awareness of one or

both of its unlawful goals.

       I have already instructed you generally on conspiracies. But I will now give you additional

instructions specific to the offense of seditious conspiracy charged in Count One.

                     Unanimity as to the Objects or Goals of the Conspiracy

       The object of a conspiracy is the illegal goal that the conspirators agree or hope to achieve.

A conspiracy may have more than one object.

       Count One charges the defendants with conspiring to achieve two separate goals or objects:

opposing the authority of the Government of the United States by force, and preventing, hindering,

or delaying the execution of any law of the United States by force. Although two separate goals of




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the conspiracy are charged, you may find the conspiracy proved if it is established that either one

of those goals was agreed to by two or more persons.

       The government is not required to prove both goals of the conspiracy. However, the

government must prove at least one of those two goals beyond a reasonable doubt. If the

government has not proved that at least one of those goals was a goal of the conspiracy charged in

Count One, your verdict must be not guilty.

       As to either or both goals which you may find the conspirators agreed to promote, you must

be unanimous. For example, if some of you find that the conspirators agreed only to oppose by

force the authority of the Government of the United States, and the remaining jurors find that the

conspirators agreed only to prevent, hinder, or delay the execution of any law of the United States

by force, that is not enough. You must be unanimous as to one or the other or both.

                                            Definitions

       The two goals of the conspiracy charged in the indictment—(1) to oppose by force the

authority of the Government of the United States, and (2) to prevent, hinder, or delay the execution

of any law of the United States by force—both have as a common ingredient the intent to use force

to oppose the United States, functioning through its government. I will now explain these

concepts.

       To determine whether a defendant conspired to “oppose by force the authority of the United

States,” you must consider whether the defendant agreed to oppose the authority of the United

States and whether that agreement was to do so by force. A conspiracy to oppose the authority of

the United States requires an agreement to commit an act that would adversely affect the ability of

the United States government to govern or perform one of its proper functions. The agreement

must be to resist some positive assertion or actual exercise of authority by the government. An




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agreement to merely violate the law is not sufficient. Affecting the ability of the United States

government to govern or to perform one of its proper functions must be a principal purpose of the

member of the conspiracy who intends to commit the act and not merely an incidental effect of an

act that is planned or carried out for another purpose.

       To determine whether the defendants conspired to prevent, hinder, or delay the execution

of any law of the United States by force, you should determine whether they agreed to engage in

conduct for the purpose of preventing, hindering, or delaying the execution of the laws governing

the transfer of presidential power. Those laws include the United States Constitution (specifically

Article II and the Twelfth Amendment) and Title 3, Section 15 of the United States Code. The

Twelfth Amendment to the Constitution provides that the Vice President, as the President of

Senate, must in the presence of the Senate and House of Representatives open all the certificates

for presidential election sent by the Electors to Congress. Title 3, Section 15 of the United States

Code further provides that the Senate and House of Representatives must meet for that purpose at

1 pm on January 6 following a presidential election. Finally, Article II to the United States

Constitution, as amended by the Twelfth and Twentieth Amendments, provides that the person

with the greatest number of votes, after that person takes the required oath, shall become president

on January 20.

       Both goals of the seditious conspiracy require an agreement that physical force would be

used. An agreement to accomplish the goals of the conspiracy by litigation, advocacy, protest, or

deceit is insufficient. Force is defined in the conventional or ordinary sense. An act involves

force if it threatens or results in violence or if it threatens or results in harming or destroying

property or harming or killing people. It is not necessary for the government to show that force

was actually used by the conspirators. Nor is it necessary for the government to prove that the




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conspirators agreed as to every detail of how force was to be used, or as to the specific targets of

the use of force. Indeed, just as participants in a legitimate business venture may be unaware of

details or may disagree about details, and still be working together to make a profit, so too

participants in a criminal venture may be unaware of details or disagree about details and still be

working together to further an unlawful purpose. However, the government must prove at least

that the conspirators intended that force would be used.

         [41] Proposed Instruction for Conspiracy to Obstruct an Official Proceeding

         Count Two of the indictment charges that the defendants participated in a conspiracy to

obstruct an official proceeding.

                                              Elements

         In order to find a defendant guilty of conspiring to obstruct an official proceeding, you

must find that the government proved each of the following two elements beyond a reasonable

doubt:

         First, that the defendant conspired or agreed with at least one other person with the goal of

committing the crime of obstructing an official proceeding.

         Second, that the defendant joined or entered into that agreement with awareness of its

unlawful goal.

         I have already instructed you generally on conspiracies. The instructions in Count Three,

which charges obstruction of an official proceeding and which I am about to provide, apply equally

here when you are considering whether each defendant conspired to commit the crime that is

charged substantively in Count Three.

              [42] Proposed Instruction for Obstruction of an Official Proceeding




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       Count Three of the indictment charges the defendants with corruptly obstructing an official

proceeding, which is a violation of the law. Count Three also charges the defendants with

attempting to obstruct or impede an official proceeding and aiding and abetting others to commit

that offense.

       I will first explain the elements of the substantive offense, along with its associated

definitions. Then, I will explain how to determine whether each defendant attempted the offense,

whether each defendant aided and abetted the offense, or whether each defendant can be held

responsible for the offense under co-conspirator liability.

                                             Elements

       In order to find a defendant guilty of corruptly obstructing an official proceeding, you must

find that the government proved each of the following four elements beyond a reasonable doubt:

       First, the defendant obstructed or impeded an official proceeding.

       Second, the defendant intended to obstruct or impede the official proceeding.

       Third, the defendant acted knowingly, with awareness that the natural and probable effect

of the defendant’s conduct would be to obstruct or impede the official proceeding.

       Fourth, the defendant acted corruptly.

                                            Definitions

       The term “official proceeding” includes a proceeding before the Congress. The official

proceeding need not be pending or about to be instituted at the time of the offense. If the official

proceeding was not pending or about to be instituted, the government must prove beyond a

reasonable doubt that the official proceeding was reasonably foreseeable to the defendant. As

used in Counts Two and Three, the term “official proceeding” means Congress’s Joint Session to

certify the Electoral College vote.




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        A person acts “knowingly” if he realizes what he is doing and is aware of the nature of his

conduct, and does not act through ignorance, mistake, or accident.         In deciding whether a

defendant acted knowingly, you may consider all of the evidence, including what the defendant

did or said.

        To act “corruptly,” the defendant must use unlawful means or have an improper purpose,

or both. The defendant must also act with “consciousness of wrongdoing.” “Consciousness of

wrongdoing” means with an understanding or awareness that what the person is doing is wrong.

        Not all attempts to obstruct or impede an official proceeding involve acting corruptly. For

example, a witness in a court proceeding may refuse to testify by invoking his constitutional

privilege against self-incrimination, thereby obstructing or impeding the proceeding, but he does

not act corruptly. In contrast, an individual who obstructs or impedes a court proceeding by

engaging in conduct such as offering illegal bribes, engaging in violence, committing fraud, or

through other independently unlawful conduct, is acting corruptly.

        While the defendant must act with intent to obstruct the official proceeding, this need not

be the defendant’s sole purpose. A defendant’s unlawful intent to obstruct justice is not negated

by the simultaneous presence of another purpose for the defendant’s conduct.

                                             Attempt

        In Count Three, the defendants are also charged with attempting to commit the crime of

obstruction of an official proceeding. An attempt to commit obstruction of an official proceeding

is a crime even if the defendant did not actually complete the crime of obstruction of an official

proceeding. In order to find the defendant guilty of attempting to commit obstruction of an

official proceeding, you must find that the government proved beyond a reasonable doubt each of

the following two elements:




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       First, that the defendant intended to commit the crime of obstruction of an official

proceeding, as I have defined that offense above.

       Second, that the defendant took a substantial step toward committing obstruction of an

official proceeding which strongly corroborates or confirms that the defendant intended to commit

that crime.

       With respect to the first element of attempt, you may not find the defendant guilty of

attempt to commit obstruction of an official proceeding merely because the defendant thought

about it. You must find that the evidence proved beyond a reasonable doubt that the defendant’s

mental state passed beyond the stage of thinking about the crime to actually intending to commit

it.

       With respect to the substantial step element, you may not find the defendant guilty of

attempt to commit obstruction of an official proceeding merely because the defendant made some

plans to or some preparation for committing that crime. Instead, you must find that the defendant

took some firm, clear, undeniable action to accomplish the defendant’s intent to commit

obstruction of an official proceeding. However, the substantial step element does not require the

government to prove that the defendant did everything except the last act necessary to complete

the crime.

                                      Aiding and Abetting

       In this case, the government further alleges that the defendants aided and abetted others in

committing, or attempting to commit, obstruction of an official proceeding, as charged in Count

Three. A person may be guilty of an offense if he aided and abetted another person in committing

the offense. A person who has aided and abetted another person in committing an offense is often

called an accomplice. The person whom the accomplice aids and abets is known as the principal.




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It is not necessary that all the people who committed the crime be caught or identified. It is

sufficient if you find beyond a reasonable doubt that the crime was committed by someone and

that the defendant knowingly and intentionally aided and abetted that person in committing the

crime.

         In order to find the defendant guilty of obstruction of an official proceeding because the

defendant aided and abetted others in committing this offense or attempting to commit this offense,

you must find the that the government proved beyond a reasonable doubt the following five

requirements:

         First, that others committed, or attempted to commit, obstruction of an official proceeding,

by committing each of the elements of the offense charged, as I have explained above.

         Second, that the defendant knew that obstruction of an official proceeding was going to be

committed, was being committed, or was attempted to be committed by others.

         Third, that the defendant performed an act or acts in furtherance of the offense.

         Fourth, that the defendant knowingly performed that act or acts for the purpose of aiding,

assisting, soliciting, facilitating, or encouraging others in committing, or attempting to commit,

the offense of obstruction of an official proceeding.

         Fifth, that the defendant did that act or acts with the intent that others commit, or attempt

to commit, the offense of obstruction of an official proceeding.

         To show that the defendant performed an act or acts in furtherance of the offense charged,

the government needs to show some affirmative participation by the defendant which at least

encouraged others to commit the offense. That is, you must find that the defendant’s act or acts

did, in some way, aid, assist, facilitate, or encourage others to commit the offense.            The

defendant’s act or acts need not further aid, assist, facilitate, or encourage every part or phase of




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the offense charged; it is enough if the defendant’s act or acts further aid, assist, facilitate, or

encourage only one or some parts or phases of the offense. Also, the defendant’s acts need not

themselves be against the law.

       In deciding whether the defendant had the required knowledge and intent to satisfy the

fourth requirement for aiding and abetting, you may consider both direct and circumstantial

evidence, including the defendant’s words and actions and other facts and circumstances.

However, evidence that the defendant merely associated with persons involved in a criminal

venture or was merely present or was merely a knowing spectator during the commission of the

offense is not enough for you to find the defendant guilty as an aider and abetter. If the evidence

shows that the defendant knew that the offense was being committed or was about to be committed,

but does not also prove beyond a reasonable doubt that it was the defendant’s intent and purpose

to aid, assist, encourage, facilitate, or otherwise associate himself with the offense, you may not

find the defendant guilty of the obstruction of an official proceeding as an aider and abettor. The

government must prove beyond a reasonable doubt that the defendant in some way participated in

the offense committed by others as something the defendant wished to bring about and to make

succeed.

                                     Co-Conspirator Liability

       In this case, the government further alleges that the defendants are guilty of the crime of

obstruction of an official proceeding as charged in Count Three based on co-conspirator liability.

A defendant is responsible for an offense committed by another member of the conspiracy if the

defendant was a member of the conspiracy when the offense was committed and if the offense was

committed in furtherance of, and as a natural consequence of, the conspiracy. In order to find a




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defendant guilty of obstruction of an official proceeding as charged in Count Three, you must find

the that the government proved beyond a reasonable doubt the following six requirements:

       First, the defendant knowingly joined a conspiracy;

       Second, the charged offense was committed by a member of that conspiracy;

       Third, that the defendant was a member of the conspiracy at the time the charged offense

was committed;

       Fourth, that the charged offense was committed during the existence of the conspiracy;

       Fifth, that the charged offense was committed in furtherance of the conspiracy; and

       Sixth, that the charged offense was a reasonably foreseeable consequence of the

conspiracy. It is not necessary that the crime was intended as part of the original plan, only that

it was a reasonably foreseeable consequence of the original plan.

       The principles governing conspiracy that I explained above apply here as well.

                               Concluding Remark for Count Three

       A defendant may be found guilty of the offense charged in Count Three if the defendant

obstructed an official proceeding, attempted to obstruct an official proceeding, aided and abetted

the obstruction of an official proceeding, or as a result of co-conspirator liability. Each of these

four ways of committing the offense is described in the instructions that I have given you. You

are not required to consider the ways of committing this offense in any particular order. If you

find beyond a reasonable doubt that the defendant committed the offense of obstruction of an

official proceeding in any one of these four ways, you should find the defendant guilty of Count

Three and you need not consider whether the defendant committed the offense of obstruction of

an official proceeding in the other three ways.




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      [43] Proposed Instruction for Conspiracy to Prevent Members of Congress from
                                 Discharging Their Duties

       Count Four of the indictment charges the defendants with conspiring to prevent Members

of Congress from discharging their duties, which is a violation of the law.

                                             Elements

       In order to find the defendant guilty of conspiring to prevent Members of Congress from

discharging their duties, you must find that the government proved each of the following two

elements beyond a reasonable doubt:

       First, that the defendant agreed with at least one other person to, by force, intimidation, or

threat, (a) prevent a Member of Congress from discharging a duty as a Member of Congress, or

(b) induce a Member of Congress to leave the place where the member of Congress’s duties are

required to be performed.

       Second, that the defendant knew of the agreement and willfully joined the agreement.

       I have already instructed you generally on conspiracies. And the instruction I gave you

earlier about unanimity with respect to the objects or goals of the conspiracy applies equally here:

As to either or both goals which you may find the conspirators agreed to promote, you must be

unanimous.




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               [44] Proposed Instruction for Destruction of Government Property

       Count Five of the indictment charges Kelly Meggs, Kenneth Harrelson, and Jessica

Watkins with injuring, damaging, or destroying property of the United States. Count Five also

charges the same three defendants with attempting to injure, damage, or destroy property of the

United States and with aiding and abetting others to commit that offense. I will first explain the

elements of the substantive offense. I will then instruct you on the elements for attempting to

commit the crime and aiding and abetting others to commit the crime.

                                             Elements

          In order to find a defendant guilty of injuring, damaging, or destroying property of the

United States, you must find that the government proved each of the following four elements

beyond a reasonable doubt:

       First, that the defendant injured, damaged, or destroyed property;

       Second, that the defendant did so willfully;

       Third, that the property involved was property of the United States, or of any department

or agency thereof; and

       Fourth, the damage or attempted damage to the property in question exceeded the sum of

$1,000.

                                            Definitions

          A defendant acts “willfully” if the defendant acted with a bad purpose or knowledge that

the defendant’s conduct was unlawful. While the government must show that a defendant knew

that the conduct was unlawful, the government does not need to prove that the defendant was aware

of the specific law that the defendant’s conduct violated.




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       The government also does not need to prove that the defendant knew that the property

belonged to the United States.

       You must decide whether the value of the property damaged was $1,000 or more. Value

means fair market value at the time when and the place where the property was allegedly damaged

or destroyed. The fair market value of the damaged or destroyed property is measured by the cost

of repairing or the cost of replacing the property, whichever is less. Do not speculate or guess at

the value of the property. Base your determination only on the evidence.

                                             Attempt

       In Count Five, Kelly Meggs, Kenneth Harrelson, and Jessica Watkins are also charged with

attempting to commit the crime of injuring, damaging, or destroying property of the United States.

An attempt to commit this crime is against the law even if a defendant did not actually complete

the crime.

       In order to find the defendant guilty of attempt to commit the crime of injuring, damaging,

or destroying property of the United States, you must find that the government proved beyond a

reasonable doubt each of the following two elements:

       First, that the defendant intended to commit the crime of injuring, damaging, or destroying

property of the United States, as I have defined that offense above.

       Second, that the defendant took a substantial step toward committing the crime of injuring,

damaging, or destroying property of the United States, which strongly corroborates or confirms

that the defendant intended to commit that crime.

       The principles governing attempt that I explained above apply here as well.

                                       Aiding and Abetting




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       The government further alleges Kelly Meggs, Kenneth Harrelson, and Jessica Watkins

aided and abetted others to commit, or attempt to commit, the crime of injuring, damaging, or

destroying property of the United States, as charged in Count Five.

       In order to find a defendant guilty of this offense because the defendant aided and abetted

others in committing it, or attempting to commit it, you must find that the government proved

beyond a reasonable doubt the following five requirements:

       First, that others committed, or attempted to commit, the crime of injuring, damaging, or

destroying property of the United States, as I have explained above.

       Second, that the defendant knew that this offense was going to be committed, was being

committed, or was attempted to be committed by others.

       Third, that the defendant performed an act or acts in furtherance of the offense.

       Fourth, that the defendant knowingly performed that act or acts for the purpose of aiding,

assisting, soliciting, facilitating, or encouraging others in committing, or attempting to commit,

the offense.

       Fifth, that the defendant did that act or acts with the intent that others commit, or attempt

to commit, the offense.

       The principles governing aiding and abetting that I explained above apply here as well.




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                                Concluding Remark for Count Five

       A defendant may be found guilty of the offense charged in Count Five if the defendant

injured, damaged, or destroyed property of the United States, attempted to do so, or aided and

abetted others in doing so. Each of these three ways of committing the offense is described in the

instructions that I have given you. You are not required to consider the ways of committing this

offense in any particular order.     If you find beyond a reasonable doubt that the defendant

committed the offense of injuring, damaging, or destroying property of the United States in any

one of these three ways, you should find the defendant guilty of Count Five and you need not

consider whether the defendant committed the offense in the other two ways.

      [45] Proposed Instruction for Interference with Officers During a Civil Disorder

       Count Six charges Jessica Watkins with committing an act to obstruct, impede, or interfere

with law enforcement officers lawfully carrying out their official duties incident to a civil disorder,

which is a violation of federal law. Count Six also charges Jessica Watkins with attempting to

commit this offense and with aiding and abetting others to commit this offense. I will first explain

the elements of the substantive offense, along with its associated definitions. Then, I will explain

how to determine whether the defendant attempted the offense. Finally, I will explain how to

determine if the defendant aided and abetted others to commit the offense.

                                              Elements

       In order to find Jessica Watkins guilty of obstructing officers during a civil disorder, you

must find the following four elements beyond a reasonable doubt:

       First, the defendant knowingly committed an act.

       Second, in committing that act, the defendant intended to obstruct, impede, or interfere

with one or more law enforcement officers.



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       Third, at the time of the defendant’s actual act, the law enforcement officer or officers were

engaged in the lawful performance of their official duties incident to and during a civil disorder.

       Fourth, the civil disorder in any way or degree obstructed, delayed, or adversely affected

either commerce or the movement of any article or commodity in commerce or the conduct or

performance of any federally protected function.

                                            Definitions

       The term “civil disorder” means any public disturbance involving acts of violence by

groups of three or more persons, which (a) causes an immediate danger of injury to another

individual, (b) causes an immediate danger of damage to another individual’s property, (c) results

in injury to another individual, or (d) results in damage to another individual’s property.

       The term “commerce” means commerce or travel between one state, including the District

of Columbia, and any other state, including the District of Columbia. It also means commerce

wholly within the District of Columbia.

       The term “federally protected function” means any function, operation, or action carried

out, under the laws of the United States, by any department, agency, or instrumentality of the

United States or by an officer or employee thereof.

       The term “department” includes executive departments. The Department of Homeland

Security, which includes the United States Secret Service, is an executive department.

       The term “agency” includes any department, independent establishment, commission,

administration, authority, board, or bureau of the United States.

                                              Attempt

       In Count Six, Jessica Watkins is also charged with attempting to commit the crime of

obstructing officers during a civil disorder. An attempt to obstruct officers during a civil disorder




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is a federal crime even if the defendant did not actually complete the crime of obstructing officers

during a civil disorder.

       In order to find the defendant guilty of attempt to commit the crime of obstructing officers

during a civil disorder, you must find that the government proved beyond a reasonable doubt each

of the following two elements:

       First, that the defendant intended to commit the crime of obstructing officers during a civil

disorder, as I have defined that offense above.

       Second, that the defendant took a substantial step toward committing the crime of

obstructing officers during a civil disorder, which strongly corroborates or confirms that the

defendant intended to commit that crime.

       The principles governing attempt that I explained above apply here as well.

                                        Aiding and Abetting

       The government further alleges Jessica Watkins aided and abetted others to commit, or

attempt to commit, the crime of obstructing, impeding, or interfering with law enforcement officers

lawfully carrying out their official duties incident to a civil disorder as charged in Count Six.

       In order to find the defendant guilty of this offense because she aided and abetted others in

committing it or attempting to commit it, you must find the that the government proved beyond a

reasonable doubt the following five requirements:

       First, that others committed, or attempted to commit, the crime of obstructing, impeding,

or interfering with law enforcement officers lawfully carrying out their official duties incident to

a civil disorder, as I have explained above.

       Second, that the defendant knew that this offense was going to be committed, was being

committed, or was attempted to be committed by others.




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       Third, that the defendant performed an act or acts in furtherance of the offense.

       Fourth, that the defendant knowingly performed that act or acts for the purpose of aiding,

assisting, soliciting, facilitating, or encouraging others in committing, or attempting to commit,

the offense.

       Fifth, that the defendant did that act or acts with the intent that others commit, or attempt

or commit, the offense.

       The principles governing aiding and abetting that I explained above apply here as well.

                                 Concluding Remark for Count Six

       A defendant may be found guilty of the offense charged in Count Six if the defendant

committed an act to obstruct, impede, or interfere with law enforcement officers lawfully carrying

out their official duties incident to a civil disorder, attempted to do so, or aided and abetted others

in doing so. Each of these three ways of committing the offense is described in the instructions

that I have given you. You are not required to consider the ways of committing this offense in

any particular order. If you find beyond a reasonable doubt that the defendant committed the

offense of obstructing, impeding, or interfering with law enforcement officers lawfully carrying

out their official duties incident to a civil disorder in any one of these three ways, you should find

the defendant guilty of Count Six and you need not consider whether the defendant committed the

offense in the other two ways.




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           [46] Proposed Instruction for Obstruction of Justice for Tampering with
                                 Documents or Proceedings

         Four of the five defendants are charged with obstruction of justice for tampering with

documents or proceedings:

         In Count Seven, Stewart Rhodes is charged with encouraging others to delete media, files,

and communications that showed their involvement in the conduct being investigated by the grand

jury.

         In Count Eight, Kelly Meggs is charged with deleting from his cellular telephone certain

media, files, and communications that showed his involvement in the conduct being investigated

by the grand jury.

         In Count Nine, Kenneth Harrelson is charged with deleting from his cellular telephone

certain media, files, and communications that showed his involvement in the conduct being

investigated by the grand jury.

         In Count Ten, Thomas Caldwell is charged with deleting from his Facebook account

certain media, files, and communications that showed his involvement in the conduct being

investigated by the grand jury.

         These counts also charge the same four defendants with attempting to commit obstruction

of justice for tampering with documents or proceedings. Additionally, Stewart Rhodes is charged

with aiding and abetting others to commit that offense. I will first explain the elements of the

substantive offense. I will then instruct you on the elements for attempting to commit the crime,

and, for Stewart Rhodes, aiding and abetting others to commit the crime.

                                             Elements




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          In order for you to find a defendant guilty of obstruction of justice for tampering with

documents or proceedings, the government must prove each of the following four elements beyond

a reasonable doubt:

          First, the defendant altered, destroyed, mutilated, or concealed a record, document, or other

object;

          Second, the defendant acted knowingly;

          Third, the defendant acted corruptly, and

          Fourth, the defendant acted with the intent to impair the object’s integrity or availability

for use in an official proceeding.

                                              Definitions

          The definitions of “knowingly” and “corruptly” that I explained above in connection with

Counts Two and Three apply here as well.

          The term “official proceeding” includes a grand jury proceeding. The official proceeding

need not be pending or about to be instituted at the time of the offense. If the official proceeding

was not pending or about to be instituted, the government must prove beyond a reasonable doubt

that the official proceeding was reasonably foreseeable to the defendant. As used in Counts Seven

through Ten, the term “official proceeding” means the grand jury’s investigation into the role of

Stewart Rhodes, Kelly Meggs, Kenneth Harrelson, Jessica Watkins, Thomas Caldwell, and others

in the attack on the United States Capitol on January 6, 2021.

          While the defendant must act with intent to obstruct the official proceeding, this need not

be the defendant’s sole purpose. A defendant’s unlawful intent to obstruct justice is not negated

by the simultaneous presence of another purpose for the defendant’s conduct.




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                                            Attempt

       In Counts Seven, Eight, Nine, and Ten, Stewart Rhodes, Kelly Meggs, Kenneth Harrelson,

and Thomas Caldwell are also charged with attempt to commit the crime of obstruction of justice

for tampering with documents or proceedings. An attempt to commit obstruction of justice for

tampering with documents or proceedings is a crime even if the defendant did not actually

complete the crime. In order to find the defendant guilty of attempt to commit obstruction of

justice for tampering with documents or proceedings, you must find that the government proved

beyond a reasonable doubt each of the following two elements:

       First, that the defendant intended to commit the crime of obstruction of justice for

tampering with documents or proceedings, as I have defined that offense above.

       Second, that the defendant took a substantial step toward committing obstruction of justice

for tampering with documents or proceedings which strongly corroborates or confirms that the

defendant intended to commit that crime.

       The principles governing attempt that I explained above apply here as well.

                                      Aiding and Abetting

       The government further alleges that Stewart Rhodes aided and abetted others in

committing, or attempting to commit, obstruction of justice for tampering with documents or

proceedings as charged in Count Seven.

       In order to find the defendant guilty of this offense because he aided and abetted others in

committing it, or attempting to commit it, you must find the that the government proved beyond a

reasonable doubt the following five requirements:




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       First, that others committed, or attempted to commit, obstruction of justice for tampering

with documents or proceedings by committing each of the elements of the offense charged, as I

have explained above.

       Second, that the defendant knew that obstruction of justice for tampering with documents

or proceedings was going to be committed, was being committed, or was attempted to be

committed by others.

       Third, that the defendant performed an act or acts in furtherance of the offense.

       Fourth, that the defendant knowingly performed that act or acts for the purpose of aiding,

assisting, soliciting, facilitating, or encouraging others in committing, or attempting to commit,

the offense of obstruction of justice for tampering with documents or proceedings

       Fifth, that the defendant did that act or acts with the intent that others commit, or attempt

to commit, the offense of obstruction of justice for tampering with documents or proceedings.

       The principles governing aiding and abetting that I explained above apply here as well.

                  Concluding Remark for Counts Seven, Eight, Nine, and Ten

       A defendant may be found guilty of the offense charged in Counts Seven, Eight, Nine, and

Ten if the defendant obstructed justice by tampering with documents or proceedings, or attempted

to do so. Each of these two ways of committing the offense is described in the instructions that I

have given you. You are not required to consider the ways of committing this offense in any

particular order. If you find beyond a reasonable doubt that the defendant committed the offense

of obstruction of justice for tampering with documents or proceeding in either of these two ways,

you should find the defendant guilty of Count Seven, Eight, Nine, or Ten, and you need not

consider whether the defendant committed the offense in the other way. Similarly, Stewart

Rhodes may be found guilty of the offense charged in Count Seven if he aided and abetted others




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to obstruct justice by tampering with documents or proceedings. If you find that he committed

the offense in one of the three ways described above, you need not consider whether he committed

the offense in the other two ways.




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